         Case: 20-1319     Document: 67    Page: 1   Filed: 12/05/2022




                                   20-1319


               United States Court of Appeals
                   for the Federal Circuit

                         SIGNATURE SYSTEMS, LLC,
                                Appellant
                                      v.
    AMERICAN EXPRESS COMPANY, AMERICAN EXPRESS TRAVEL
              RELATED SERVICES COMPANY, INC.,
                         Appellees
    KATHERINE K. VIDAL, Under Secretary of Commerce for Intellectual
    Property and Director of the United States Patent and Trademark Office,
                                  Intervenor
                           _____________________

      Appeal from the United States Patent and Trademark Office, Patent
               Trial and Appeal Board in No. CBM2018-00035

              APPELLEES’ MOTION FOR AN AWARD OF
                 ATTORNEYS’ FEES AND EXPENSES

                                    John D. Vandenberg
                                    Sarah E. Jelsema
                                    Todd M. Siegel
                                    Robert T. Cruzen
                                    KLARQUIST SPARKMAN, LLP
                                    One World Trade Center
                                    121 S.W. Salmon Street, Suite 1600
                                    Portland, Oregon 97204-2988
                                    (503) 595-5300
                                    john.vandenberg@klarquist.com
December 5, 2022                    Counsel for Appellees American Express
                                    Company and American Express Travel
                                    Related Services Company, Inc.
          Case: 20-1319     Document: 67    Page: 2    Filed: 12/05/2022




                       CERTIFICATE OF INTEREST

Counsel for the Appellees, American Express Company and American Express
Travel Related Services Company, Inc., certify the following:
1.   The full name of every party or amicus represented by me is:
     American Express Company and American Express Travel Related Services
     Company, Inc.

2.   The Name of Real Party in interest (Please only include any real party in
     interest NOT identified in Question 3) represented by me is:
     American Express Company and American Express Travel Related Services
     Company, Inc.
3.   All parent corporations and any publicly held companies that own 10 percent
     or more of the stock of the party or amicus curiae represented by me are:
     Berkshire Hathaway, Inc.
4.   The names of all law firms and the partners or associates that appeared for the
     party or amicus now represented by me in the trial court or agency or are
     expected to appear in this court (and who have not or will not enter an
     appearance in this case) are:
     Klarquist Sparkman, LLP: John D. Vandenberg, Todd M. Siegel, Robert T.
     Cruzen

5.   The title and number of any case known to counsel to be pending in this or
     any other court or agency that will directly affect or be directly affect or be
     affected by this court’s decision in the pending appeal. See Fed. Cir. R.
     47.4(a)(5) and 47.5(b).
     Signature Systems, LLC v. American Express Company and American
     Express Travel Related Services Company, Inc., Case No. 1:15-cv-20063
     (S.D. Fla.)

6.   Organizational Victims and Bankruptcy Cases. Provide any information
     required under Fed. R. App. P. 26.1(b) (organizational victims in criminal
     cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
     47.4(a)(6).
     None/Not applicable.



                                        i
               Case: 20-1319             Document: 67           Page: 3         Filed: 12/05/2022




                                        TABLE OF CONTENTS
                                                                                                                 Page

CERTIFICATE OF INTEREST ................................................................................ i
TABLE OF AUTHORITIES ...................................................................................iii
I.      STATEMENT OF OPPOSITION ...................................................................1

II.     MOTION .........................................................................................................1
III.    INTRODUCTION ...........................................................................................1

IV.     FED. R. APP. P. 38..........................................................................................2
V.      THE APPEAL WAS FRIVOLOUS AS ARGUED ........................................3
        A.       Frivolous As Argued On Alice Issues ...................................................3

        B.       Frivolous As Argued On Expert Issues .................................................6
        C.       Frivolous As Argued On Other Issues ..................................................7
VI.     THE APPEAL WAS FRIVOLOUS AS FILED .............................................9
VII. THE COURT SHOULD AWARD AMERICAN EXPRESS $75,000 .........10
VIII. CONCLUSION..............................................................................................12
CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS ...13




                                                          ii
                Case: 20-1319              Document: 67            Page: 4         Filed: 12/05/2022




                                       TABLE OF AUTHORITIES
                                                                                                                     Page
Cases

Alice Corp. Pty. Ltd. v. CLS Bank Int'l,
  573 U.S. 208 (2014) ..................................................................................... passim

cxLoyalty, Inc. v. Maritz Holdings Inc.,
  986 F.3d 1367 (Fed. Cir. 2021) .................................................................... 4, 5, 9

Finch v. Hughes Aircraft Co.,
  926 F.2d 1574 (Fed. Cir. 1991) .........................................................................3, 4
Inventor Holdings, LLC v. Bed Bath & Beyond, Inc.,
  876 F.3d 1372 (Fed. Cir. 2017) .............................................................................9

Pop Top Corp. v. Rakuten Kobo Inc.,
  2022 WL 2751662 (Fed. Cir. July 14, 2022) .......................................................10
State Indus., Inc. v. Mor-Flo Indus., Inc.,
  948 F.2d 1573 (Fed. Cir. 1991) .............................................................................2
Walker v. Health Int’l Corp.,
 845 F.3d 1148 (Fed. Cir. 2017) .............................................................................5

Statutes
35 U.S.C. § 285 ..........................................................................................................9

Rules

Fed. Cir. R. 27 ............................................................................................................1
Fed. Cir. R. 47.7 .........................................................................................................1

Fed. Cir. R. Rule 36 ...................................................................................................9

Fed. R. App. P. 15 ......................................................................................................8

Fed. R. App. P. 38 ............................................................................................ passim

Regulations

37 C.F.R. § 42.64 .......................................................................................................6


                                                            iii
            Case: 20-1319     Document: 67     Page: 5   Filed: 12/05/2022




I.     STATEMENT OF OPPOSITION

       Pursuant to Fed. Cir. R. 27(a)(2), counsel for Appellees discussed this motion

with counsel for Appellant. Appellant’s counsel objects to this motion.

II.    MOTION

       Pursuant to Fed. R. App. P. 38 and Fed. Cir. R. 47.7, American Express

Company and American Express Travel Related Services Company, Inc.

(“American Express”) hereby move for an order finding that the appeal of Signature

Systems, LLC (“Signature”) was frivolous as argued and as filed, and ordering

Signature to pay American Express $75,000 in damages. This motion is filed within

thirty (30) days of this Court’s judgment and is thus timely under Fed. Cir. R. 47.7.

III.   INTRODUCTION

       Bare minimum expectations of any patent owner appealing an unpatentability

decision of the Board include the following:

       • identify and address each alternative ground for the Board’s decision and

          do not misstate those grounds;

       • address the relevant portions of the patent’s claims and specification;

       • address the closest precedents and, when a new precedent issues during the

          appeal that forecloses any genuine appealable issue, drop the appeal; and

       • limit the briefs to the issues that are both appealable and appealed, and not

          forfeited at the Board.


                                           1
           Case: 20-1319      Document: 67      Page: 6   Filed: 12/05/2022




Signature here violated all these basic norms, and more. Below we identify ten

examples of Signature’s misconduct.

IV.   FED. R. APP. P. 38

      When the Court determines that an appeal was frivolous, it may award just

damages and single or double costs to the appellee. See Fed. R. App. P. 38. In 1982,

this Court “established the policy of enforcing this rule vigorously.” Practice Note

to Fed. R. App. P. 38 in Fed. Cir. Rules.

      An appeal is frivolous as filed when no genuinely appealable issues existed,

and frivolous as argued when the appellant engages in misconduct in arguing the

appeal. State Indus., Inc. v. Mor-Flo Indus., Inc., 948 F.2d 1573, 1578 (Fed. Cir.

1991). Such misconduct can include manufacturing arguments “by distorting the

record, by disregarding or mischaracterizing the clear authority against its position,

and by attempting to draw illogical deductions from the facts and the law.” Id. at

1579. Bad faith need not be shown: “The standard for Rule 38 is objective, not

subjective, and ‘has nothing to do with the mental state of the person sanctioned.’”

Id. at 1581 (citation omitted).

      “Just damages” awarded under Rule 38 may include attorneys’ fees or be a

fixed amount set by the Court. Id.




                                            2
              Case: 20-1319     Document: 67     Page: 7    Filed: 12/05/2022




V.       THE APPEAL WAS FRIVOLOUS AS ARGUED

         A.    Frivolous As Argued On Alice Issues

         1. The heart of Alice1 step one is the abstract idea, if any, to which the claims

are directed. Here, the Board identified the abstract idea of the claims as: “currency

exchange through transferring and exchanging reward points data,” repeating this

articulation verbatim nine times. (Appx39, Appx40, Appx43, Appx46 (twice),

Appx47, Appx62, Appx71, Appx85–86.) Any patent owner genuinely challenging

the Board’s Alice step one analysis would acknowledge the abstract idea the Board

identified and attempt to show either that it is not the focus of the claims or that it is

not abstract, or both. Not Signature. Signature’s Blue Brief not once quotes or

acknowledges the abstract idea identified by the Board. Worse still, it misstates what

the Board identified as the abstract idea, pretending that the Board identified the

claims’ abstract idea as “data processing” (Blue Br. at 19), which the Board plainly

did not do. Cf. Finch v. Hughes Aircraft Co., 926 F.2d 1574, 1582 (Fed. Cir. 1991)

(finding appeal frivolous as argued in part because the appellant “seriously

misrepresented the record below”).

         2. When an agency bases its decision on two alternative grounds, an appellant

with a genuine appeal seeks to show error in each ground. But not Signature. Here,




1
    Alice Corp. v. CLS Bank Int’l, 573 U.S. 208 (2014).

                                             3
           Case: 20-1319      Document: 67     Page: 8   Filed: 12/05/2022




the Board ruled that the claims’ reward points were a type of currency and, in the

alternative, ruled that the claims were directed to an abstract idea even if reward

points are not currency. (Appx42.) Yet, Signature’s Blue Brief objects that the

Board was wrong to refer to reward points as “currency,” without acknowledging

the Board’s alternative basis for its decision. Even when American Express noted

the Board’s alternative holding (Red. Br. at 28–29), Signature in its Gray Brief and

at the Oral Argument continued to ignore this alternative holding.

      3. Alice largely is a stare decisis doctrine. Courts and litigants look to the

closest patent claims ruled patent eligible or ineligible in governing precedents.

Here, the closest precedent is extremely close: cxLoyalty, Inc. v. Maritz Holdings

Inc., 986 F.3d 1367 (Fed. Cir. 2021). The patent there not only claimed commercial

transactions using reward points, as here, but also its alleged improvement was

replacing a human intermediary with generic Web components, again as here. Faced

with this precedent issuing during its appeal, Signature should have dropped its

appeal. Having chosen to proceed anyway, it needed to attempt to distinguish this

close precedent. But that is not what Signature did. Signature’s Blue Brief does not

even mention this extremely close precedent. Failure to cite close adverse precedent

is an example of frivolous argument. Cf. Finch, 926 F.2d at 1579–80 (finding appeal

frivolous as argued in part for failure to address contrary precedents).




                                          4
           Case: 20-1319     Document: 67     Page: 9    Filed: 12/05/2022




      4. Appellants are expected to not make facially absurd arguments. Signature

also failed this bare minimum expectation. The Gray Brief argues that the claims are

patent eligible in part because they do not preempt the entire rewards field, as shown

by the existence of other patents in this field. (Gray Br. at 10.) But patents do not

claim or preempt entire fields. It is a truth needing no proof that none of the

thousands of claims declared patent ineligible under Alice—including those in

cxLoyalty—have preempted an entire field. The relevant, albeit non-dispositive,

preemption issue is whether the claims preempt their abstract idea in a particular

field (which these claims do), not all abstract ideas (and inventions) in the field.

Signature’s suggestion that the Court should reverse the Board in part because this

field has more than one patent satisfies any definition of frivolity. Cf. Walker v.

Health Int’l Corp., 845 F.3d 1148, 1156 (Fed. Cir. 2017) (under Rule 38, awarding

fees and double costs on appeal, amounting to $51,801.88, in part in view of the

appellant’s “bent to mischaracterize clear authority and to draw illogical conclusions

from the law and facts”).

      The above examples show that Signature repeatedly failed the bare minimum

expectations of any appellant in this Court, and therefore are enough for the Court

to declare this appeal frivolous as argued. But there are more examples.




                                          5
           Case: 20-1319      Document: 67     Page: 10      Filed: 12/05/2022




      B.     Frivolous As Argued On Expert Issues

      5. The Board has clear rules on how and when to object to the declaration of

an expert witness, setting specific deadlines for both objecting to such evidence and

moving to exclude it. 37 C.F.R. §§ 42.64(b) & (c). Before the Board, Signature did

not object to Dr. Chaterjee’s expert testimony or move to exclude it. An appellant

with a genuine appeal would either not raise on appeal an evidentiary objection it

had forfeited or at the very least attempt to show why the Court should excuse that

forfeiture. Yet, the Blue Brief—without acknowledging its forfeiture—objects to the

admission of this expert testimony. In response to American Express citing these

rules of the Board and noting Signature’s waiver (Red Br. at 36–37), Signature

denied waiver without acknowledging its failure to comply with the Board’s rules

and without citing any legal precedent excusing Signature’s failure to comply with

those rules. (Gray Br. at 2–3.)

      6. Any genuine appellant accusing the Board of error naturally cites to specific

passages in the Board’s decision supposedly constituting such error. Not Signature.

The Blue Brief objects that the Board relied upon Dr. Chaterjee’s testimony in its

Alice determination—without citing a single instance of the Board citing to that

testimony. In reality, the Board cited to Dr. Chaterjee’s testimony defining the

POSITA and explaining the prior art. (Appx32, Appx43–46, Appx68.) Those are

classic topics for a technical expert in a patent dispute.


                                           6
           Case: 20-1319     Document: 67     Page: 11      Filed: 12/05/2022




      7. The Gray Brief argues that an expert in the art should not testify as to what

is “well known” in the art. (Gray Br. at 3.) Enough said.

      In sum, Signature disregarded the rules governing the CBM, the true bases for

the Board’s decision, and the universally accepted role of technical experts in patent

cases. These seven examples should be enough for the Court to declare this appeal

frivolous as argued but there are even more examples.

      C.     Frivolous As Argued On Other Issues

      8. Again, Appellants are expected to not make facially absurd arguments. But

Signature’s Blue and Gray Briefs both argue that the Board is collaterally estopped

by Patent Office Examiners having approved the claims over an Alice challenge in

an ex parte Reexamination which Signature had initiated. Signature cites no

precedent finding any tribunal (as distinct from a party) being collaterally estopped,

and cites nothing in the statute carving out from CBM (or IPR or PGR) review

patents that have undergone ex parte reexamination. On the contrary, the main point

of the AIA’s post-grant review proceedings is to correct mistakes by Patent Office

Examiners in ex parte proceedings, through an inter partes proceeding before a

panel of administrative law judges. Congress did not allow patent owners to evade

inter partes review by administrative law judges by requesting an ex parte

reexamination with Examiners.




                                          7
           Case: 20-1319       Document: 67    Page: 12    Filed: 12/05/2022




      9. The federal rules governing appeals of agency decisions require that the

petition or notice of appeal specify the order or parts thereof to be reviewed. Fed. R.

App. P. 15(a)(2)(C). Therefore, a party cannot complain on appeal about an agency

action taken years after the party’s notice of appeal. Yet, the Blue Brief challenges

the Director’s December 2021, Denial of Review of the Board’s decision, despite

Signature having expressly declined the Court’s invitation to update its 2019 Notice

of Appeal to appeal that denial. In response to the Red Brief noting this waiver (Red

Br. at 38–39), the Gray Brief denies waiver without acknowledging Signature’s

failure to amend the notice of appeal or even attempting to explain why that failure

did not forfeit its chance to challenge the denial. (Gray Br. at 1–2.)

      10. Perhaps the most obvious of the bare minimum expectations is not to

appeal non-appealable decisions. But Signature’s Blue and Gray Briefs challenge

the Board’s threshold CBM institution Decision despite this Court ruling two years

ago that such a decision is non-appealable under the statute. When the Red Brief

noted this (Red Br. at 34–35), the Gray Brief doubled down with a baseless assertion

that this ruling of the Court did not apply here. (Gray Br. at 4–5.) Signature finally

conceded the point at the Oral Hearing but that cannot excuse its frivolous position

in the Blue and Gray Briefs.

      Taken collectively, these 10 instances of misconduct satisfy any measure of

an appeal being frivolous as argued.


                                           8
           Case: 20-1319      Document: 67    Page: 13   Filed: 12/05/2022




VI.   THE APPEAL WAS FRIVOLOUS AS FILED

      The briefing and arguments on the merits show that the appeal also was

frivolous as filed. Signature admitted to the Board and this Court that the claimed

subject matter does not improve the way a computer system works. (Appx3467; Blue

Br. at 28 (“[T]he computer technology is not new.”).) The patent specification

emphasized that “any type” of computers and computer network would suffice.

(Appx116, col. 5, lns. 13–22 & 58–64.) Both clear statements in the specification

describing the alleged advance (Appx115, col. 3, lns. 30–42 & 64–66), and

Signature’s own descriptions of the alleged invention to the Board (see Blue Br. at

10–12) made it indisputable that the focus of the claims was on the abstract idea of

exchanging reward points. Even before the cxLoyalty decision issued, this appeal

was frivolous. Cf. Inventor Holdings, LLC v. Bed Bath & Beyond, Inc., 876 F.3d

1372, 1377, 1379 (Fed. Cir. 2017) (affirming as not abuse of discretion district court

award of $931,903.45 in “post-Alice attorney fees [under Sec. 285], including fees

incurred during the appeal,” where the asserted patent claims were “manifestly”

directed to a “fundamental economic practice,” and the Court had affirmed invalidity

under Alice under Rule 36).




                                          9
          Case: 20-1319     Document: 67     Page: 14   Filed: 12/05/2022




VII. THE COURT SHOULD AWARD AMERICAN EXPRESS $75,000

      American Express will spend more than $75,000 on this appeal, not counting

the value of its in-house counsel’s time. The accompanying declaration of its lead

counsel explains the fees and costs incurred by American Express on this appeal.

(See Vandenberg Decl.) The requested amount of $75,000 is a reasonable amount

under the circumstances. Cf. Pop Top Corp. v. Rakuten Kobo Inc., No. 2021-2174,

2022 WL 2751662, at *3 (Fed. Cir. July 14, 2022) (non-precedential) (awarding fees

and double costs of $107,748.27 under Fed. R. App. P. 38 for an appeal that was

frivolous as argued and as filed, which included $20,000 for the cost of preparing

the sanctions motion).

      2021 AIPLA survey data (Vandenberg Decl., Ex. A) suggests that the median

cost of an appeal to this Court from a PTAB post-grant review proceeding in the

“electrical/computer” practice area approaches approximately $140,000. This

estimate is derived by subtracting the highlighted dollar amounts in the first table

below (costs through the PTAB hearing) from the corresponding amounts in the

second table below (costs through appeal):




                                        10
          Case: 20-1319     Document: 67      Page: 15   Filed: 12/05/2022




Exhibit A at 012.




Exhibit A at 013.

      These tables are not a perfect measure of the cost of appeal from an IPR, CBM,

or PGR decision of the Board. Other steps can occur between the PTAB hearing and

an appeal, such as a motion for reconsideration by the Board. But as such motions

are not the norm, and they do not involve an oral hearing, they presumably do not

account for a substantial part of the reported $140,000 differential. While this

$140,000 amount is an imperfect approximation, it still is probative of the fact that




                                         11
          Case: 20-1319     Document: 67     Page: 16   Filed: 12/05/2022




$75,000 is not an unreasonably high amount of fees and expenses to defend this

appeal, especially when including the time required to prepare this motion for fees.

VIII. CONCLUSION

      In view of Signature’s misconduct on this appeal and the importance of

enforcing Rule 38 vigorously, the Court should order Signature to pay American

Express $75,000 in damages.

                                       Respectfully submitted,

                                       /s/John D. Vandenberg
                                       John D. Vandenberg
                                       Sarah E. Jelsema
                                       Todd M. Siegel
                                       Robert T. Cruzen
                                       KLARQUIST SPARKMAN, LLP
                                       One World Trade Center
                                       121 S.W. Salmon Street, Suite 1600
                                       Portland, Oregon 97204-2988
                                       (503) 595-5300
                                       john.vandenberg@klarquist.com
                                       sarah.jelsema@klarquist.com
                                       todd.siegel@klarquist.com
                                       rob.cruzen@klarquist.com

                                       Counsel for Appellees American Express
                                       Company and American Express Travel
                                       Related Services Company, Inc.

December 5, 2022.




                                        12
          Case: 20-1319     Document: 67     Page: 17   Filed: 12/05/2022




CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

the filing has been prepared using a proportionally-spaced typeface and includes
2,366 words.

___the filing has been prepared using a monospaced typeface and includes ___ _
lines of text.

___the filing contains ___ _ pages/words/lines of text, which does not exceed the
maximum authorized by this court’s order (ECF No. ____).


December 5, 2022.                     /s/John D. Vandenberg
                                      John D. Vandenberg

                                      Counsel for Appellees American Express
                                      Company and American Express Travel
                                      Related Services Company, Inc.




                                        13
             Case: 20-1319          Document: 67         Page: 18       Filed: 12/05/2022




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         Case: 20-1319     Document: 67    Page: 19   Filed: 12/05/2022




                                   20-1319


               United States Court of Appeals
                   for the Federal Circuit

                         SIGNATURE SYSTEMS, LLC,
                                Appellant
                                      v.
    AMERICAN EXPRESS COMPANY, AMERICAN EXPRESS TRAVEL
              RELATED SERVICES COMPANY, INC.,
                         Appellees
    KATHERINE K. VIDAL, Under Secretary of Commerce for Intellectual
    Property and Director of the United States Patent and Trademark Office,
                                  Intervenor
                           _____________________

      Appeal from the United States Patent and Trademark Office, Patent
               Trial and Appeal Board in No. CBM2018-00035

     DECLARATION OF JOHN D. VANDENBERG IN SUPPORT OF
           APPELLEES’ MOTION FOR AN AWARD OF
              ATTORNEYS’ FEES AND EXPENSES

                                    John D. Vandenberg
                                    Sarah E. Jelsema
                                    Todd M. Siegel
                                    Robert T. Cruzen
                                    KLARQUIST SPARKMAN, LLP
                                    One World Trade Center
                                    121 S.W. Salmon Street, Suite 1600
                                    Portland, Oregon 97204-2988
                                    (503) 595-5300
                                    john.vandenberg@klarquist.com
December 5, 2022                    Counsel for Appellees American Express
                                    Company and American Express Travel
                                    Related Services Company, Inc.



                                     001
           Case: 20-1319     Document: 67      Page: 20   Filed: 12/05/2022




      I, John D. Vandenberg, hereby declare as follows:

      1. I am an attorney at law duly licensed to practice before this Court and am

a partner in the law firm of Klarquist Sparkman, LLP (“Klarquist”), attorneys of

record for Appellees American Express Company and American Express Travel

Related Services Company, Inc. (“American Express”) in the above-entitled action

(the “Action”). I make this declaration in support of American Express’s Motion for

an Award of Attorneys’ Fees and Expenses. Unless otherwise stated, I have personal

knowledge of the facts set forth in this declaration, and if called as a witness, could

and would competently testify as set forth below.

      2. American Express seeks an award of $75,000.00 in costs and “just

damages” incurred on this appeal. This declaration is submitted as the required

“statement, under oath, specifying the following: (A) the nature of each service

rendered; (B) the amount of time expended rendering each type of service; and (C)

the customary charge for each type of service rendered.” Fed. Cir. R. 47.7(b)(2).

      3. In addition to its attorney fees, American Express incurred expenses in

this appeal including approximately $571.51 in costs to print its Red Brief and

deliver it to the Court, and travel expenses of approximately $1,765.49 for me to

travel from Oregon to the site of the argument on this appeal.

      4. Klarquist has represented American Express during the entire 34-month

duration of this appeal. Klarquist attorneys and other billing personnel are required


                                          1
                                         002
           Case: 20-1319     Document: 67     Page: 21   Filed: 12/05/2022




to record their daily time, together with a description of daily work performed, and

enter these amounts and descriptions into a database maintained by Klarquist’s

accounting department. These procedures were followed in connection with the

work performed by Klarquist in this matter for American Express. I relied on

relevant data from this database in preparing this declaration.

      5. The following chart identifies the attorneys at Klarquist who worked on

this appeal through the date of the oral argument, November 1, 2022, their hourly

rates as charged to American Express, the number of hours each attorney billed

related to the appeal through November 1, 2022, and the total value of each

attorney’s appeal-related work.

      Attorney           Years of      Hourly Rate(s)         Hours          $$
                         Attorney      Charged Over
                        Experience    Course of Matter

John D.                     38        $570/$606            80.3         $48,658
Vandenberg

Todd M. Siegel              26        $475/$515            19.8         $9,589

Rob T. Cruzen               23        $475/$515            11.2         $5,644

Sarah E. Jelsema            11        $325                 47.9         15,567.50

TOTAL                                                      159.2        $79,458.50

      6. The above billings do not include the time we have spent working on this

Rule 38 motion for American Express.




                                          2
                                        003
           Case: 20-1319     Document: 67      Page: 22   Filed: 12/05/2022




      7. The above attorney hours were devoted to standard tasks performed for

any appellee including review of the appellant’s briefs and cited cases and the record,

drafting appellee’s brief, communications with appellant regarding the Appendix,

and preparing for the oral argument. I am not specifically aware of what is customary

for other law firms to charge for each of these tasks before this Court but have

worked on appeals at Klarquist for more than thirty years and can represent that our

billings in this case for such tasks were comparable to or less than our billings in

other appeals, generally, accounting for inflation.

      8. Mr. Siegel argued this case before the Board and was the lead attorney for

American Express for the first two years of this appeal. Mr. Cruzen also was

substantively involved in the case before the Board and on this appeal during this

same period. This two-year period included motion practice in response to Arthrex.

Their billings noted above primarily were incurred in the first two years of this

appeal, before the briefing stage. Both also assisted with our Red Brief and preparing

for oral argument.

      9. Mr. Vandenberg and Ms. Jelsema have substantial experience with

appeals before the Court and were primarily responsible for the briefing and

preparation for oral argument on this appeal. Ms. Jelsema also engaged with

Signature Systems in preparation of the Appendix and Mr. Vandenberg argued the




                                          3
                                         004
             Case: 20-1319   Document: 67     Page: 23   Filed: 12/05/2022




case. Their above-noted billings were primarily incurred in 2022 during the briefing

stage.

         10. Available 2021 AIPLA survey data (Exhibit A) suggests that the median

cost of an appeal to this Court from a PTAB PGR or IPR proceeding in the

“electrical/computer” practice area approaches approximately $140,000. This

estimate is derived by subtracting the highlighted dollar amounts in the first table

below (costs through the PTAB hearing) from the corresponding amounts in the

second table below (costs through appeal):




Exhibit A at 012.




Exhibit A at 013.


                                         4
                                        005
         Case: 20-1319     Document: 67      Page: 24   Filed: 12/05/2022




     I declare under penalty of perjury that the foregoing is true and correct.


                                      /s/John D. Vandenberg
                                      John D. Vandenberg
December 5, 2022.




                                         5
                                       006
Case: 20-1319   Document: 67    Page: 25   Filed: 12/05/2022




       EXHIBIT A




                          007
Case: 20-1319   Document: 67    Page: 26   Filed: 12/05/2022




                          008
                                        AIPLA Report of the Economic Survey 2021
                  Case: 20-1319         Document:        67 Page: 27 Filed: 12/05/2022


INTRODUCTION

The AIPLA Economic Survey, developed and directed by the Law Practice Management Committee of the
American Intellectual Property Law Association (AIPLA), reports the annual incomes and related professional
and demographic characteristics of intellectual property (IP) law attorneys and associated patent agents.
Conducted every other year by AIPLA, this survey also examines the economic aspects of intellectual property
law practice, including individual billing rates and typical charges for representative IP law services. All U.S.
AIPLA members, with the exception of student members were invited to participate.

The Law Practice Management Committee took an active role in reviewing the Economic Survey with a goal of
improving the usefulness and value of the data that are collected and analyzed.

DATA COLLECTION

An e-mail invitation to participate in the 2021 AIPLA Economic Survey was sent to 7,220 AIPLA members;
accounting for bounces and requests to be removed from the database, the actual sample surveyed was 6,833.
The e-mail included an individualized direct link to the Web-based questionnaire along with an attached letter
requesting additional participation in the Firm portion of the Economic Survey. The initial e-mail was followed
up by several e-mail reminders. Additionally, AIPLA sent out promotional emails with survey links as well. Similar
to past years, additional efforts were made to collect the Firm Survey data. Contact information was collected
directly from the Individual Survey respondents that was then used for distributing Firm Survey links directly to
the appropriate people identified at each firm by the Individual Survey respondents.

A total of 740 individuals responded by completing some or all of the Individual questionnaire, yielding a 10.8%
response rate, nearly the same rate as in 2019. Additional efforts to gather data for the Firm portion of the
survey garnered 165 responses  slightly higher than the 160 received in 2019.

All data submitted by respondents were reviewed and evaluated for reasonableness and consistency; data
anomalies and outliers were analyzed and corrected or deleted.

In many cases, respondents did not answer every question, so the total counts for each table may vary.

CHANGES TO THE SURVEY

A number of enhancements were made to the Individual Survey instrument this year, including the addition of a
few questions regarding the COVID-19 pandemic.

In Part I, questions about COVID-19 were added, expanding the questions about remote working. Additionally,
respondents were given the option of Prefer not to respond for the gender and ethnicity questions. Lastly, two
questions regarding familiarity with the Global Dossier were removed this year.

Part III (Private Practitioners) added two new questions about COVID-19 and billing rate changes and removed
questions added in 2019 that requested data that is already collected on the Firm Survey.

The category of Filing US Applications Abroad that was added in 2019 in Part IV was revised so that respondents
no longer were asked to indicate the top 3 countries for US applications entering foreign national phase or for
US applications directly filed with foreign office. They were still asked, however, to choose one foreign country
and answer all questions in that section based on that one foreign country. Another question was added in this
section for respondents to indicate if there is a surcharge to clients for handling invoices from foreign counsel.



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                                          AIPLA Report of the Economic Survey 2021
                  Case: 20-1319           Document:        67 Page: 28 Filed: 12/05/2022


The reference to Covered Business Method (CBM) Review was removed when respondents were asked to
estimate the total cost of filing or defending a petition for a post-grant proceeding. It was replaced with the
category of PGR/IPR  Life Sciences. The other two categories (PGR/IPR  Electrical/Computer and PGR/IPR 
Mechanical) remained the same.

Litigation  Trademark Opposition/Cancellation was updated from two categories (End of Discovery and
Inclusive, all costs) to three categories (Through filing petition, Through end of discovery, and Inclusive, all
costs).

The 2021 Firm Survey instrument added new questions related to the COVID-19 pandemic. More specifically,
there were questions about closing or reducing office space and remote working before, during, and after the
pandemic. COVID-19 related questions associated with the summer associates’ programs were also added. A
new question about outsourcing services was included to replace two previous questions about outsourcing
international filing and annuity payments. A new question requesting the percent change in the firm’s revenue
for IP legal services from 2019 to 2020 was also added. At the same time a number of questions were removed
this year, including numerous detailed questions regarding support staff (billable and non-billable). Docketing
and accounting system questions were removed as well as the section collecting the same charges data that is
collected on the Individual Survey.

DESCRIPTION OF STATISTICS AND FORMATTING CONVENTIONS

A minimum of three responses is required to show composite values. The term ISD is used to show
insufficient data. Similar to the past few reports, table rows with one or two respondents have been omitted to
protect the anonymity of respondents, and tables with no valid rows have likewise been omitted. In general,
tables with less than 20 respondents overall were not shown in order to maintain statistical reliability of the
data; however, exceptions were made, and some tables were included despite having fewer than 20
respondents overall. Location tables that display data for typical charges and litigation related matters were
deleted when there were less than 20 respondents. The corresponding charges and litigation tables with data
displayed by number of attorneys were kept. Additionally, for applicable tables, the 10 th and 90th percentiles
could only be shown if there were 10 or more respondents.

Quartiles: Quartiles are used to show distributions of real numbers. Responses are described by three quartiles:
the first quartile, the median, and the third quartile. Quartiles identify interpolated locations on a distribution of
values and do not necessarily represent actual reported values. Another label for quartiles is percentiles; the
first quartile is the same as the 25 th percentile, the median is the 50th percentile, and the third quartile is the 75 th
percentile. For example, when all reported values are listed from highest to lowest, the third quartile identifies
the point on the list that is equal to or greater than 75 percent (three-quarters) of the reported values and the
first quartile identifies the point on the list that is equal to or less than 25 percent (one-quarter).

10th Percentile: Also used to show distributions of real numbers, ninety percent of respondents reported this
amount or more.

90th Percentile: Ten percent reported this amount or more. If there are fewer than 10 values, the 90 th
percentile cannot be calculated.

Median (midpoint): The median identifies the point in the distribution of reported values that is equal to or
larger than one-half of reported values and equal to or smaller than one-halfthat is, the mid-point.
A median is shown when three or more values were reported by respondents. The first and third quartiles are
shown when four or more values were reported by respondents. Quartiles and medians based on values
reported by survey respondents are estimates of the quartiles and medians that could be determined if the


                                                          2

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                                         AIPLA Report of the Economic Survey 2021
                  Case: 20-1319          Document:        67 Page: 29 Filed: 12/05/2022


characteristics of the entire population represented by survey respondents were known. In general, the more
values that are reported, the more accurately quartiles estimate the distribution of values among all AIPLA
members.

Mean (average): The mean is shown when three or more values were reported by respondents. It is equal to the
sum of all values divided by the number of values.

It should be noted that if the mean exceeds the median, it is because high values affect the calculations. It is also
possible, especially with a small number of values, for the mean to exceed the third quartile.

Percentages in some tables and graphs may not sum exactly due to rounding.

Other definitions useful in understanding tabular information presented in this report are:

Income: Defined as “total gross income in calendar year 2020 from your primary practice including any
partnership income, cash bonus, share of profits, and similar income you received, and any deferred
compensation in which you vested in 2020.”

Typical Charges: Respondents were instructed to respond “only if you have been personally responsible for a
representative sample of the type of work to which the question pertains, either as a service provider (i.e., an
attorney in private practice) or as a purchaser of such services (i.e., corporate counsel).” When reporting,
respondents were directed to assume “a typical case with no unusual complications,” and were asked “what did
you charge (or would have charged, e.g., based on a fixed fee rate schedule) or what were you charged (or would
have expected to be charged, e.g., based on a fixed fee rate schedule), in 2020, for legal services only (including
search fees, but not including copy costs, drawing fees or government fees) in each of the following types of US
matters?” Respondents were also asked to indicate the type of fee primarily used in 2020 (i.e., fixed fee, hourly,
other).

Estimated Litigation Costs: Respondents were instructed to respond to these questions “only if you have
personal knowledge either as a service provider (attorney in private practice) or as a purchaser of such services
(corporate counsel) of the costs incurred within the relatively recent past, for the type of work to which the question
pertains. In each of the questions, ‘total cost’ is all costs, including outside legal and paralegal services, local
counsel, associates, paralegals, travel and living expenses, fees and costs for court reporters, photocopies, courier
services, exhibit preparation, analytical testing, expert witnesses, translators, surveys, jury advisors, and similar
expenses.” Respondents were further instructed to estimate these based on a single IP asset, such as one patent at
issue or one trademark, etc.

Location: The metropolitan areas of Boston, New York City, Philadelphia, Washington (DC-MD-VA), Chicago, and
MinneapolisSt. Paul include all localitiescentral city and surrounding areaswithin the primary metropolitan
statistical area. Texas is the one state reported separately. There were sufficient responses to breakout Los
Angeles and San Francisco separately; California firms outside of those metro areas were included in “Other
West.” Other categories exclude those named metropolitan areas.




                                                         3

                                                         011
Case: 20-1319   Document: 67    Page: 30   Filed: 12/05/2022




                          012
Case: 20-1319   Document: 67    Page: 31   Filed: 12/05/2022




                          013
